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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

__________________________________________
NICOLE WADE, AMY DISALVATORE, )
and DYLAN BARKASY                          )
Plaintiffs                                 )
                                           )
v.                                         )        CIVIL ACTION NO.
                                           )
UNIVERSITY OF CONNECTICUT                  )
BOARD OF TRUSTEES                          )
Defendant                                  )

      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                     PARTIES

   1. Plaintiff, Nicole Wade, lives in New Hartford, Connecticut and is a student at

      the University of Connecticut, enrolled in the Allied Health Sciences

      department.

   2. Plaintiff, Amy DiSalvatore, on behalf of her minor student and incoming

      freshman, resides in Manchester, Connecticut.

   3. Plaintiff, Dylan Barkasy, is a returning Sophomore at the University of

      Connecticut and resides in Manchester, Connecticut.

   4. The defendant, University of Connecticut Board of Trustees, is legislative

      board given authority under the University’s bylaws to determine the “general

      policy of the University” and “make laws for its government”.

                                 JURISDICTION

   5. Plaintiffs bring this action under 28 U.S.C. § 2201 and § 2202.

   6. At issue is the defendant’s policy, enacted on June 4, 2021, stating that “[a]ll



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       UConn students are required to be fully vaccinated against COVID-19.”

    7. Plaintiffs, through this complaint, assert that defendant’s vaccination policy

       violates federal and state law and the United States Constitution.

                                  THE UCONN POLICY

    8. On June 4, 2021, the defendant enacted a policy mandating that all University

       of Connecticut students be vaccinated against COVID-19.

    9. Per the policy, students who fail to comply face unspecified “loss of privileges

       and/or sanctions,” which can only include the loss of enrollment and attendance

       at the University.

    10. As a reason for the policy, defendant stated the following on the language of

       the policy itself:

       “To promote the health and safety of the University community and to
       reduce the risk of transmission of COVID-19 among University
       students, consistent with federal, state and local efforts to minimize
       outbreaks of COVID-19.”

    11. Additionally, defendant offers both medical and nonmedical exemptions,

       subject to the defendant’s review and approval1.

    12. No written criteria or specific policy exists as to who qualifies for or what

       qualifies as a nonmedical exemption, nor is a basis for acceptance or denial of

       exemptions provided.




1
 The defendant’s interim president stated that policy “allows students to apply for exemptions,
including for medical and other reasons.” https://www.courant.com/coronavirus/hc-news-coronavirus-
uconn-vaccination-pushback-20210629-knxlyjubgvfw7hh24bk4beo7we-story.html

                                                2
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 13. Students therefore must assert a nonmedical exemption by filling out an

    online form on the defendant’s website and await notice of approval or denial.


UCONN’S POLICY IS NOT “CONSISTENT WITH FEDERAL, STATE AND
   LOCAL EFFORTS TO MINIMIZE OUTBREAKS OF COVID-19”

 14. To date, the federal government has not, nor has any state, mandated

    COVID-19 vaccination for its citizens.

 15. Currently, three vaccines are authorized by the Food and Drug

    Administration for emergency use only.

 16. Under the Emergency Use Authorization statute, 21 U.S.C. § 360bbb-3, any

    drug authorized for emergency use by the Secretary of Health and Human

    Services must be administered only after recipients provide their voluntary

    and informed consent.

 17. The HHS Secretary is to ensure:

 (ii) Appropriate conditions designed to ensure that individuals to whom the
 product is administered are informed--

 (I) that the Secretary has authorized the emergency use of the product;

 (II) of the significant known and potential benefits and risks of such use, and of
 the extent to which such benefits and risks are unknown; and
 (III) of the option to accept or refuse administration of the product, of the
 consequences, if any, of refusing administration of the product, and of the
 alternatives to the product that are available and of their benefits and risks.

 18. On March 27, 2020, Amanda Cohn, the Executive Secretary of CDC Advisory

    Committee on Immunization Practices (CDC-ACIP) specifically stated: "I just

    wanted to add that, just wanted to remind everybody, that under an

    Emergency Use Authorization, an EUA, vaccines are not allowed to be


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        mandatory. So, early in this vaccination phase, individuals will have to be

        consented and they won’t be able to be mandated.”2


    19. The statute precludes mandating of a drug that is authorized for emergency

        use, as it deals specifically with health and medical consequences, and cannot

        be interpreted as dealing with sanctions and loss of privileges from school for

        lack of consent.

    20. No federal agency has recommended mandating the vaccine to employees or

        students.

    21. As a reference in federal employment context, “The Safer Federal Workforce

        Task Force,” was created and is led by the White House COVID-19 response

        team, General Services Administration (GSA), Office of Personnel

        Management (OPM), and includes members from the Centers for Disease

        Control and Prevention (CDC), Department of Veteran’s Affairs (VA), Federal

        Emergency Management Agency (FEMA), Office of Management and Budget

        (OMB) and the United States Secret Service (USSS).

    22. The Safer Federal Workforce specifically stated that the vaccine should not

        be mandated for federal employees:




2
 https://www.thedesertreview.com/health/experimental-covid-shots-cannot-be-mandated/article_89b901ae-
8126-11eb-a78d-07c0c7e926df.html

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    23. The EEOC defers federal employers to the Safer Federal Workforce Task

       force and seems to suggest that a private employer could potentially mandate

       the vaccine3, stating only that the EEO laws in and of themselves do not

       prevent employers from doing so, yet does not make mention of other federal

       and/or state laws, such as 21 U.S.C. § 360bbb-3.




3https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-act-and-
other-eeo-laws specifically “The federal EEO laws do not prevent an employer from requiring all
employees physically entering the workplace be vaccinated for COVID-19…”

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      24. The CDC encourages individuals who are not vaccinated to get vaccinated4

          but clearly states that the federal government does not mandate the vaccine.




      25. The clearest guidance comes directly from the White House, in which President

          Biden has invited “colleges and universities across the country to join us in our

          efforts to end the pandemic by signing up for the COVID-19 College Vaccine

          Challenge.”

      26. The defendant signed up for the challenge.5

      27. The College Vaccine Challenge involves a commitment to colleges and

          universities to take three key actions to get their respective campuses fully

          vaccinated. The three key actions are: engaging every student, faculty and staff

          member; organizing their college communities; and delivering vaccine access

          for all.

      28. The challenge in no way encourages a vaccine mandate for students, but

          instead is geared toward creating programs to encourage the student body,

          faculty and staff to obtain the vaccine.

      29. The defendant’s policy requires students to be vaccinated, but defendant does


4
    https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html
5   https://www.whitehouse.gov/COVIDCollegeChallenge/

                                                   6
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          not require faculty and staff to be vaccinated.

      30. The State of Connecticut, in accordance with General Statutes § 10a-155,

          mandates only that college students be immunized against measles, rubella,

          mumps, varicella and one dose of Meningococcal.

      31. On April 28, 2021, Governor Lamont signed Connecticut House Bill 6423,

          “An Act Concerning Immunizations,” which removes students’ ability to claim

          religious exemptions to vaccinations (with a “grandfather” exception) into

          law.

      32. General Statutes § 19a-131(e) gives statutory authority to the Governor to

          order the Commissioner of Public Health, during a public health emergency,

          to vaccinate the citizens of Connecticut, only after obtaining informed consent

          and subject to specific exemptions.

      33. The Governor of Connecticut has not mandated the COVID-19 vaccine for its

          residents6.

      34. The State of Connecticut Department of Public Health has not mandated any

          COVID-19 vaccine for Connecticut students who attend schools in

          Connecticut.

      35. Employees of the State of Connecticut are not mandated to be vaccinated

          against COVID-19.

      36. Defendant’s employees are not mandated to be vaccinated against COVID-19.




6
    https://portal.ct.gov/vaccine-portal/COVID-19-Vaccination-FAQ

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                                          COUNT I
                         (14th   Amendment Procedural Due Process)

      37. Plaintiffs repeat and re-allege paragraphs 1-36 of this Complaint.

      38. Plaintiffs have a liberty interest in continuing their education at the

          University of Connecticut. See Danso v. University of Connecticut, 50

          Conn.Supp. 256 (2007).

      39. Plaintiffs are comprised of various students, from those newly accepted to the

          University (Wade and DiSalvatore), a student who is not eighteen years of age

          (DiSalvatore), to those who have continued attendance at the University

          (Barkasy).

      40. By failing to obtain a vaccine, students face undetermined “sanctions” or a “loss

          of privileges,” which, without explicitly stating so, can only be interpreted as

          the loss of their enrollment and continued education at the university.

      41. The defendant offers medical and nonmedical exemptions, which it will

          purportedly approve or deny based on some criteria, which at this point in time

          has not been published.

      42. Defendant has provided no criteria for what constitutes a legitimate

          “nonmedical” exemption to their vaccine requirement.

      43. The policy going into effect on June 4, 2021, ensures that plaintiffs are without

          practical recourse to apply for admission to another school.

      44. Additionally, all four-year public colleges and universities in Connecticut now

          mandate the vaccine7.


7   https://ctmirror.org/2021/06/24/cscu-board-votes-to-require-covid-vaccines-for-students-in-the-fall/

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45. Plaintiffs are prevented from attending any other public college or university

   within the state without facing the same vaccination requirement.


                              COUNT II
              (14th   Amendment Substantive Due Process)

46. Plaintiffs repeat and re-allege paragraphs 1-45 of this Complaint.

47. Plaintiffs have an individual, fundamental right to refuse medical treatment.

   Washington v. Harper, 494 U.S. 210 (1990). See also Cruzan v. Director of

   Mississippi Department of Public Health, 497 U.S. 261 (1990).

48. While there is significant precedent to States mandating vaccinations in

   public health emergencies, primarily Jacobson v. Massachusetts, 197 U.S. 11

   (1905), not only has the State of Connecticut not mandated the vaccine for

   students, but Connecticut’s governor, who currently has authority under the

   provisions of Section 19a-131(e) to order the Commissioner of Public Health

   to vaccinate the citizens of Connecticut in a public health emergency, has not

   done so.

49. Jacobson does not apply to defendant’s policy for the following reasons:

      a. The defendant has no statutory authority to order the vaccination of its

         students, as the vaccination requirements are a matter of state statute

         and only the Governor can order vaccination in a public health

         emergency, and therefore defendant, by enacting their mandate,

         exceeded their statutory authority under General Statutes § 10a-104;

      b. The Governor of Connecticut, who has statutory authority, in an

         emergency, to order the Commissioner of Public Health to vaccinate

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          citizens in certain towns (similar to the authority given the Cambridge

          Board of Health in Jacobson), has not done so;

      c. The Supreme Court in Jacobson made its determination based

          significantly on the settled medical science regarding the smallpox

          vaccinations from “nearly a century” of its use, and here we are dealing

          with a drug that has been in existence less than one year and is not

          even approved by the Food and Drug Administration;

      d. In Jacobson, the determination as to the necessity of a vaccine, as

          opposed to other methods of prevention, was delegated to a

          governmental body (local Board of Health) as it is in Connecticut: the

          Public Health Commissioner on auhtority from the Governor.

50. Thus, strict scrutiny applies to defendant’s decision, meaning their

   restrictions must be narrowly tailored to serve a compelling state interest.

51. Restricting plaintiffs’ fundamental right to refuse medical treatment in this

   instance was not narrowly tailored, nor does it serve a compelling interest.

52. The vaccines mandated by the defendant, in their short existence, have

   resulted in nearly 7,000 vaccine-related deaths

   (https://www.openvaers.com/covid-data/mortality) as opposed to vaccine-

   related deaths in 2019 totaling only 605.




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    53. Among the ages of 12-24, which make up 8.8% of vaccines administered, we

       see a whopping 52.5% of all reported myocarditis and pericarditis cases8.

    54. As of February, 2021, the total amount of COVID-19 deaths of those under

       forty-four years old was 11,421, while those under twenty-five totaled only

       3,7109.

    55. Specific to Connecticut, a total of 54,873 cases have been confirmed in the

       state for the 20-29 age group, resulting in a total of 10 deaths10.

    56. As of July 3, 2021, the State of Connecticut had only 356 active cases of




8
  https://www.fda.gov/media/150054/download#page=17
9 https://www.heritage.org/data-visualizations/public-health/covid-19-deaths-by-age/
10
   https://data.ct.gov/Health-and-Human-Services/COVID-19-Cases-and-Deaths-by-Age-Group/ypz6-
8qyf

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        COVID-1911.

     57. As of May 5, 2021, there were two positive cases out of 1,500 students in

        defendant’s residences of Storrs, Connecticut12.

     58. The same data reflects that 160 positive test results have come from

        defendant’s faculty and staff.

     59. Since 2020, the defendant has received at least $110.5 Million from

        Coronavirus-related relief programs such as the American Rescue Plan Act

        ($56.9 million), Response and Relief Act ($32.1 million) and the CARES Act

        ($21.5 million)13.

     60. Many of these funds received have vague guidelines with respect to use of the

        funds, such as training, public health centers, staffing and reimbursement of

        lost revenue14.

     61. The Family Freedom Endeavor, Inc., submitted a FOIA request for defendant

        to produce records related to the use of said funds in connection with the

        determination to mandate the vaccines for defendant’s students for the Fall

        semester of 2021.

     62. This request was submitted on June 22, 2021 and to date no records have

        been produced.

     63. Defendant, along with administering testing and vaccines on its campus,




11
   https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
12
   https://coviddashboard.uconn.edu/covid-dashboard/
13
   https://www.covidmoneytracker.org
14
   https://crsreports.congress.gov/product/pdf/IN/IN11556

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        reports its data to the CDC, including specific demographic data15.

     64. Defendant also mandates certain prevention measures for those with

        exemptions, including mask wearing, temperature checks and self-reporting.

     65. These methods of prevention were purportedly effective in preventing the

        spread of COVID-19 and must still be so.

     66. Defendant’s policy, in light of the publicly available data, additional effective

        measures, the disproportional rate of infection from the faculty and staff

        compared to the student body and an already highly vaccinated student body

        (defendant’s spokesperson stated that the “vast majority” of UConn students

        were willing to be vaccinated16), fails to establish a rational relationship to a

        legitimate interest, which is preventing the spread of COVID-19.

     67. Defendant’s policy is also unconstitutionally vague.


                                       COUNT III
                             (Lack of Informed Consent)

     68. Plaintiffs repeat and re-allege paragraphs 1-67 of this Complaint.

     69. As stated in ¶19, 21 U.S.C. § 360bbb-3 provides that vaccines authorized for

        emergency use are not to be mandated but require informed consent.

     70. Section 19a-131e provides the statutory authority vaccinate the citizens of

        Connecticut by authorizing the Governor to order the Commissioner of Public




15
  https://www.cdc.gov/coronavirus/2019-ncov/lab/reporting-lab-data.html
16
  https://www.stamfordadvocate.com/news/article/Families-threaten-to-sue-UConn-over-COVID-
vaccine-16283806.php

                                             13
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   Health to do so in a declared public health emergency. Section 19a-131e

   states in part:


         The commissioner shall inform individuals subject to such
         vaccination order of the benefits and risks of the vaccine and an
         individual's option to refuse to be vaccinated for any reason,
         including, but not limited to, health, religious or conscientious
         objections. No individual shall be vaccinated unless such
         individual or, if such individual is a minor, such
         individual's parent or guardian has provided written
         consent for such vaccination.

71. These federal and state statutes, although they may not specifically

   grant a private right of action, specifically outline the need for consent

   prior to administration of vaccines.

72. Section 19a-131e does not provide even the Governor to order the

   vaccination of Connecticut residents with a drug that has not been

   approved by the Food and Drug Administration.

73. The defendant does not have authority under the laws of the State of

   Connecticut, the Connecticut Constitution, federal law or the United

   States Constitution, to mandate that its students be vaccinated with

   one of three unapproved vaccines.

74. Defendant’s statutory authority under Section 10a-104 does not give it

   more authority than the governor and legislature.

75. Defendant’s mandate therefore violates both state and federal law and

   exceeds its authority.




                                       14
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                                     COUNT IV
                           (Violations of 42 U.S.C. §1983)

  76. Plaintiffs repeat and re-allege paragraphs 1-75 of this Complaint.

  77. Defendant, by enacting their vaccine mandate, was acting under the color of

     law. “The traditional definition of acting under color of state law requires

     that the defendant in a § 1983 action have exercised power “possessed by

     virtue of state law and made possible only because the wrongdoer is clothed

     with the authority of state law.” West v. Atkins, 487 U.S. 42 (1988).

  78. The deprivation of plaintiffs’ liberty interest, outlined in Count I, above,

     constitutes a violation of §1983.

  79. The deprivation of plaintiff’s fundamental right to refuse medical treatment,

     outlined in Count II, above, constitutes a violation of §1983.

WHEREFORE, plaintiffs request:

  80. Declaration that defendant’s mandate is unconstitutional on its face;

  81. Declaration that defendant’s mandate is unconstitutional as applied to

     both plaintiffs;

  82. Enjoin defendant from enforcing their mandate;

  83. Attorney fees and costs, plus any other relief this Court deems proper.




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                                Plaintiffs, by their attorney,

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